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oe . UNITED STATES BANKRUPTCY COURT
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a- as DISTRICT OF COLORADO
anit Sh uel
es
Roan JOSEPH ANTHONY ase No. theaters
EIN/SSN: xxx-xx-3705 ) Chapter 7
)
Debtor(s) J
)
TASHEENA POLANCO, )
)
Plaintiff, Lom ~ a FS
v. ) 1 a 1 “eal 1 soa
) Adv. Proc. No.
JOSEPH ANTHONY ROTH, )
)
Defendant. )
)

 

COMPLAINT OBJECTING TO DISCHARGEABILITY OF INDEBTEDNESS
PURSUANT TO I1 U.S.C. § 523

COMES NOW, Plaintiff Tasheena Polanco (“Plaintiff or “Polanco”), by and through her
attorneys, the Traylor Law Group, LLC, and for her Complaint Objecting to Dischargeability of
Indebtedness Pursuant to 11 U.S.C. § 523 (“Complaint”), states as follows:

PARTIES

l. Defendant Joseph Anthony Roth (“Defendant,” “Debtor” or “Roth”) filed his
voluntary petition for relief under Chapter 7 of the Bankruptcy Code on October 12, 2011.

2. Defendant resides at 13543 Windom Lane, Broomfield, Colorado 80023.

3. Plaintiff Tasheena Polanco is an individual resident of Colorado, residing 1n the
City of Northglenn, State of Colorado.

JURISDICTION AND VENUE

 
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4. Plaintiff hereby incorporates by reference all paragraphs of this Complaint as if
fully set forth herein.

5. Jurisdiction is proper pursuant to 28 U.S.C. § 1334.

6. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(1). This matter is

properly brought as an adversary proceeding under FED. R. BANKR. P. 7001(6).

GENERAL ALLEGATIONS
7. Plaintiff hereby incorporates by reference al! paragraphs of this Complaint as if
fully set forth herein.
8. This is an adversary proceeding initiated to determine the dischargeability of

indebtedness pursuant to 11 U.S.C. § 523(a)(6).

9. Defendant’s first meeting of creditors pursuant to 11 U.S.C. § 341 was conducted
on November 10, 2011.

10.‘ The last date for Plaintiff to file a complaint objecting to dischargeability of
indebtedness is January 9, 2012.

FACTUAL BACKGROUND

11. Plaintiff hereby incorporates by reference all paragraphs of this Complaint as if
fully set forth herein.

12. Defendant is the owner and sole proprietor of Roth’s Auto, an automotive repair
shop and U-Haul rental business located at 1690 East 112th Avenue, Northglenn, Colorado
80233.

13. Plaintiff was hired by Defendant on May 12, 2009, as a U-Haul Representative

and Shop Cleaner.

 
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14. Plaintiffs work environment was permeated with inappropriate sexual remarks,
harassment and discrimination for the entire period of her employment.

15. On her first day of work, Defendant asked Plaintiff if she had a boyfriend. He also
asked her if she “liked to party.”

16. Defendant made frequent references to Plaintiff’s breasts. Specifically, he told
Plaintiff prior to hiring her that he “liked her boobs.” On one occasion, while Plaintiff leaned
across a desk to clean it, Defendant remarked, “Look what’s on the desk.” When a former
employee of Roth’s Auto came to the shop, Defendant stated, “Look, Larry, your replacement
has boobs.”

17. One day, as Plaintiff was cleaning a glass window, Defendant approached the
other side of the glass and licked the glass across from Plaintiff's breasts.

18. On another occasion, while Plaintiff was bent over cleaning a vehicle, Defendant
came over and stated, “I just came by because I heard you were showing some major thong-age.”

19. Defendant regularly described his own sexual conduct to Plaintiff, including
visiting strip clubs, paying women for sex, having sex in the shop and trading car repair services
for sexual favors.

20. Defendant described one particular occasion in which he and two other employees
of Roth’s Auto paid a woman to perform sexual acts, including oral sex, on each of them.
Defendant also stated that he had been to “whore houses” and that he knew of a place where he
could pick from “new, hot Hispanic girls” for forty dollars. Plaintiff is Hispanic.

21. One day, Defendant showed Plaintiff a condom and told her he was going to a

strip club after work.
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22. Defendant made unwelcome and inappropriate sexual contact with Plaintiff
multiple times.

23. In one instance, while giving Plaintiff a high five, Defendant bumped her breast
with his elbow, and then stated, “Ooh, let’s try that one more time.”

24. Another time, while he and Plaintiff were using the computer, Defendant reached
between her legs to throw away some trash. As he pulled his hand back, he brushed his hand
across her crotch, then smelled his hand and stated, “Thanks.”

25. Defendant asked Plaintiff to give him massages several times during her
employment. His first request occurred on Plaintiff's first day of work, May 12, 2009, and his
final request occurred on June 6, 2009.

26. Only two days after Plaintiff refused Defendant’s final request for a massage,
Defendant terminated Plaintiff on June 8, 2009.

27. ‘Plaintiff filed a Charge of Discrimination with the Colorado Civil Rights Division
(“CCRD”), alleging sexual harassment and discrimination. On May 5, 2010, the CCRD issued a
finding of probable cause.

28. On May 12, 2010, Plaintiff filed a civil action against Defendant in the District
Court for Adams County, Case No. 2010CV832. Her claims included battery, intrusion, sexual
harassment and discrimination, and wrongful termination in violation of public policy.

29, Pursuant to her civil action, Plaintiff took Defendant’s deposition on September 8,
2011. During the deposition, Defendant admitted to the majority of the conduct described above.
He attempted to justify his reprehensible behavior by claiming that Plaintiff deserved the
mistreatment he inflicted upon her because she “dressed provocatively.” Defendant went on to

say that some women deserve to be raped if they dress a certain way.
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30. Defendant also admitted during his deposition that he intended to file for
bankruptcy, and that his only reason for doing so was to avoid court and any liability in

Plaintiffs civil action.

FIRST CLAIM FOR RELIEF
(Denial of Dischargeability of Indebtedness pursuant to 11 U.S.C. § 523(a)(6))

31. Plaintiff hereby incorporates by reference all paragraphs of this Complaint as if
fully set forth herein.

32. Defendant’s actions and omissions were intentional and were substantially certain
to cause injury to Plaintiff,

33.  Defendant’s actions and omissions described above caused deliberate harm to
Plaintiff.

34, The indebtedness due and owing from Defendant to Plaintiff is the result of
willful and malicious conduct of Defendant causing injury to Plaintiff.

WHEREFORE, Plaintiff prays that the court determine Defendant’s indebtedness to
Plaintiff is nondischargeable in this bankruptcy proceeding pursuant to 11 U.S.C. § 523(a)(6).

DATED this 4" day of January, 2012.

Respectfully submitted,

Traylor Law Group, LLC

 

Whitney Cc. Tréyfor

Brice P. Kindred

Craig T. Truitt

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ATTORNEYS FOR PLAINTIFF

 
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B104 (FORM 104) (08/07)

 

 

 

 

 

ADVERSARY PROCEEDING COVER SHEET ADVERSARY PROCEEDING NUMBER
(Instructions on Reverse) (Court Use Only) A“
TASHEENA POLANCO JOSEPH ANTHONY ROTH
ATTORNEYS (Firm Name, Address, and Telephone No.) | ATTORNEYS (If Known)

Traylor Law Group, LLC
1721 High Street, Denver, CO 80218, 303-321-1862

Robert C. Wolf
P.O, Box 1875, Arvada, CO &0001, 303-450-1665

 

PARTY (Check One Box Only)

 

PARTY (Check One Box Only)

 

 

 

oO Debtor Oo U.S. Trustee/Bankruptey Admin f Debtor nUS. Trustee/Bankrupicy Admin
w Creditor Oo Other n Creditor O Other 7A Ss %
oO Trustee O Trustee aos ~ =
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL US. STATGTES NBL VER cn
Objection to dischargeability of indebtedness pursuant to 11 U.S.C. Sec. 523(a)(6). : - oF
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Se =
NATURE OF SUIT 3S “a 9

(Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative datisens 3, etc.)

 

FRBP 7001(1) — Recovery of Money/Property
11-Recovery of money/property - §542 turnover of property
EJ l2-Recovery of money/property - §547 preference
E] 13-Recovery of money/property - §548 fraudulent transfer
A 14-Recovery of money/property - other

FREP 7001(2} - Validity, Priority or Extent of Lien
21-Validity, priority or extent of lien or other interest in property

FRBP 7001(3)— Approval of Sale of Property
31-Approval of sale of property of estate and of a co-owner - §363(hH)

FRBP 7001 (4) — Objection/Revacation of Discharge
LJ 41-Objection / revocation of discharge - §727(c},(d},(e)

FRBP 7001(5) -—
51-Revocation of confirmation

Revocation of Confirmation

FREP 7001(6) — Dischargeability
Oj 66-Dischargeability - §523{a)(1),(14),(14A) priority tax claims
oO 62-Dischargeability - §523{a){2), false pretenses, false representation,
actual fraud
oO 67-Dischargeability - §523(ay(4), fraud as fiduciary, embezzlement, larceny

(continued next column)

FRBP 7001(6) — Dischargeability (continued)

O 61 -Dischargeability - §523(a)(5), domestic support

0 68-Dischargeability - §523(a)(6), willful and malicious injury

C1 63-Dischargeability - §523(a)(8), student loan

O 64-Dischargeability - §523(a)(15), divorce or separation obligation
{other than domestic support)

CO 65-Discharecability - other

FRBP 7001(7) — Injunctive Relief
71-Injunctive relief — imposition of stay
O 72-Injunctive relief ~ other

FREP 7001(8) Subordination of Claim or Interest
O 81-Subordination of claim or interest

FRBP 7001(9) Declaratory Judgment
91-Declaratory judgment

FR#SP 7001(10) Determination of Removed Action
01-Determination of removed claim or cause

Other

[1 ss-sIPA Case — 15 U.S.C. §§78aaa ef. seg.

LI 02-other (e.g. other actions that would have been brought in state court
if unrelated to bankruptcy case)

 

w Check if this case involves a substantive issue of state law

O Check if this is asserted to be a class action under FRCP 23

 

a Check if'a jury trial is demanded in complaint

 

Demand $

 

 

Other Relief Sought

Determination that Defendant's indebtedness to Plaintiff is nondischargeable in this bankruptcy preceeding.

 

 

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B104 (FORM 104) (08/07), Page 2

 

BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES

 

 

 

 

 

 

 

 

 

 

 

 

NAME OF DEBTOR BANKRUPTCY CASE NO.
Joseph A. Roth 11-34121-MER
DISTRICT IN WHICH CASE IS PENDING DIVISION OFFICE NAME OF JUDGE
Colorado Michael E, Romero
RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF DEFENDANT ADVERSARY
PROCEEDING NO.
DISTRICT IN WHICH ADVERSARY IS PENDING DIVISION OFFICE NAME OF JUDGE
SIGNATURE OF ATFORNEY (OR PLAINTIFF)
DATE 7” ~ PRINT NAME OF ATTORNEY (OR PLAINTIFF)
Jatuary 4, 2012 Whitney C. Traylor

 

 

INSTRUCTIONS

The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists of
all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
lawsuits concerning the debtor’s discharge. [f such a lawsuit is filed in a bankruptcy court, it is called an adversary
proceeding.

A party filing an adversary proceeding must also must complete and file Form 104, the Adversary Proceeding Cover
Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic Case
Filing system (CM/ECF). (CM/ECF captures the information on Form 104 as part of the filing process.) When completed,
the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the information to
process the adversary proceeding and prepare required statistical reports on court activity.

The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
explanatory, must be completed by the plaintiff's attorney (or by the plaintiff if the plaintiff is not represented by an
attomey). A separate cover sheet must be submitted to the clerk for each complaint filed.

Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.
Attorneys. Give the names and addresses of the attorneys, if known.

Party, Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.
Demand. Enier the dollar amount being demanded in the complaint.

Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. Ifthe

plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pra se, that is, not represented by an
attorney, the plaintiff must sign.

 
